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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                                     )
UNITED STATES OF AMERICA             )
                                     )
V.                                   )       Crim. No. 15-cr-10271-WGY
                                     )
ALEX LEVIN                           )
                                     )

 DEFENDANT’S MOTION FOR EXPEDITED HEARING BEFORE DISTRICT JUDGE

          The defendant, Alex Levin, moves that this Court grant him

an expedited hearing before the District Judge assigned to this

matter. As grounds for this request, the defendant states the

following:

     1.     The defendant was arrested on August 12, 2015. He has

been held without bail since that time. He is presently under

indictment for one count of possession of child pornography in

violation of 18 U.S.C. § 2252A(5)(B).

     2.     On January 27, 2016, the defendant filed a Second Revised

Motion for Release with Conditions. (Dkt. 33). On the same day,

the defendant also filed a Motion for Probation to Investigate

the Suitability of the Defendant’s Proposed Residences. (Dkt.

34). The Court allowed the latter motion on February 3, 2016.

     3.     Counsel for both parties have attempted in good faith to

schedule a prompt hearing before the Magistrate Judge. Due to

the Court’s unavailability and the schedules of the attorneys,



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the matter cannot be heard by the Magistrate Judge before March

14, 2016.

  4.    The defendant is moving that his Second Revised Motion

for Release with Conditions be heard by the District Judge. He

has no prior criminal record and has been in custody for a

lengthy period of time. He has been separated from his young

daughter whose tenth birthday is fast approaching. He

respectfully asks that this Court grant him a hearing during the

week of February 29, 2016, subject to the availability of the

Assistant United States Attorney and the Court.

                                  ALEX LEVIN
                                  By his attorneys,

                                  CARNEY & ASSOCIATES


                                  J. W. Carney, Jr.
                                  J. W. Carney, Jr.
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Dated: February 25, 2016




                        Certificate of Service



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indicated as non-registered participants on or before the above date.

                                          J. W. Carney, Jr.
                                          J. W. Carney, Jr.




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